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15                               UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
     LIABILITY LITIGATION,
18                                                     Case No. 3:16-md-02741-VC

19   Spector, et al. v. Monsanto, Co., No. 3:20-cv-    MONSANTO COMPANY’S REPLY
     05532                                             MEMORANDUM IN SUPPORT OF ITS
20                                                     MOTION FOR SUMMARY JUDGMENT

21                                                     Hearing:
                                                       Date: TBD
22                                                     Time: TBD
                                                       Place: Courtroom 4
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        MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                        SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1               Plaintiffs respond (“Opp.”) to Monsanto Company’s (“Monsanto’s”) motion for summary
 2   judgment (“MSJ”) by largely rehashing the baseless allegations in their complaint, and repeatedly
 3   emphasizing that Monsanto never warned consumers that its Roundup-branded products cause non-
 4   Hodgkin’s Lymphoma (“NHL”). These arguments entirely miss the point. Monsanto has never
 5   included Plaintiffs’ preferred warning because there is no valid scientific evidence linking Roundup
 6   to NHL. And the U.S. Environmental Protection Agency (“EPA”) has accordingly prohibited
 7   Monsanto from including on Roundup’s label that its use can cause NHL. More to the point,
 8   Monsanto’s motion for summary judgment is based not on the purported adequacy of its warnings,
 9   but on the fact that Beth Spector admitted during her deposition that she never looked at the warning
10   label on any of the Roundup-branded products she used. The purported inadequacy of the labels
11   therefore was not the proximate cause of Ms. Spector’s injuries, dooming each of Plaintiffs’ claims.1
12                                                 ARGUMENT
13       I.      A HEEDING PRESUMPTION DOES NOT APPLY TO PLAINTIFFS’ CLAIMS
14               Plaintiffs rely principally on Pavlik v. Lane Ltd./Tobacco Exporters International, 135 F.3d
15   876 (3d Cir. 1998) and Tincher v. Omega Flex, Inc., 104 A.3d 328 (Pa. 2014) to argue that
16   Pennsylvania state courts recognize the heeding presumption for a warnings causation analysis.
17   Opp. at 13-14 n.11. Because the Pennsylvania Supreme Court has not ruled on whether the
18   presumption should apply, the Third Circuit in Pavlik was in the position of predicting how it would
19   rule if faced with the question. See Covington v. Cont’l Gen. Tire, Inc., 381 F.3d 216, 218 (3d Cir.
20   2004). The Pavlik court “predict[ed]” that the state supreme court would “adopt a rebuttable
21   presumption” because of the state supreme court’s previous adoption of comment j to Section 402A
22   of the Restatement (Second) of Torts. Pavlik, 135 F.3d at 883. Comment j sets forth a presumption
23   that “where a warning is given, the seller may reasonably assume that it will be read and heeded”—
24   a presumption that aids a manufacturer where adequate warnings are provided. Id. The Pavlik
25   1
       As Monsanto explained in its motion, all of Plaintiffs’ claims, regardless of theory, center on
26   allegations that Monsanto is liable because it failed to warn that Roundup-branded products
     allegedly cause cancer. See MSJ at 1-2, 5-6. As a result, Plaintiffs’ failure to show that the purported
27   inadequate warning caused Ms. Spector’s injuries requires summary judgment on all of Plaintiffs’
     claims.
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              MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                              SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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     court’s 1998 prediction that the Pennsylvania Supreme Court would extrapolate this principle to a
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     heeding presumption that aids plaintiffs in showing proximate causation is not binding on this Court.
 3
     Instead, the Court must conduct its own analysis to determine, based on the state court precedent as
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     of 2021, how Pennsylvania’s highest court would rule on this question. Covington, 381 F.3d at 218.
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     The Third Circuit has stated that intermediate state court decisions are “particularly relevant” to
 6
     answering that question, and that those intermediate decisions should “not to be disregarded by a
 7
     federal court unless it is convinced by other persuasive data that the highest court of the state would
 8
     decide otherwise.” Id.
 9
             Since Pavlik, intermediate state court decisions have ruled that despite the Pennsylvania
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     Supreme Court’s adoption of comment j, Pennsylvania does not generally recognize a heeding
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     presumption to aid a plaintiff’s burden to prove proximate causation. See Viguers v. Philip Morris
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     USA, Inc., 837 A.2d 534, 537-38 (Pa. Super. Ct. 2003), aff’d, 881 A.2d 1262 (Pa. 2005); Moroney
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     v. Gen. Motors Corp., 850 A.2d 629, 634 n.3 (Pa. Super. Ct. 2004); see also Dolby v. Ziegler Tire
14
     & Supply Co., No. 694 WDA 2016, 2017 WL 781650, at *5 (Pa. Super. Ct. Feb. 28, 2017). Those
15
     courts have applied the presumption only in cases that involve “work related asbestos exposure.”
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     Viguers, 837 A.2d at 538. As the court in Viguers explained, there is a public policy rationale for
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     applying the presumption in those cases, because “[p]laintiffs who are exposed to asbestos and other
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     products as a condition of their employment have little choice but to be in an environment where
19
     the asbestos or other products are present.” Id. But that public policy rationale does not extend to
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     situations where the plaintiff’s injuries are due to her “voluntary choice” to engage in the activity
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     that allegedly caused the harm. Id.2 Though Plaintiffs rely extensively on Tincher, there the
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     Pennsylvania Supreme Court did nothing more than reaffirm that Pennsylvania follows Section
23
     402A of the Restatement [Second] of Torts—which was already true when Pavlik and these
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     subsequent state court decisions cabining the application of the heeding presumption were decided.
25
     See Pavlik, 135 F.3d at 881. Tincher does nothing to affect those appellate state court decisions.
26

27   2
       It is undisputed that Ms. Spector’s exposure to Roundup took place at her home, where she
     voluntary chose to use Roundup, rather than at the work place. Opp. at 1.
28
                                                       2
          MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                          SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1
              This Court must view the post-Pavlik decisions as an indication of how the Pennsylvania
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     Supreme Court would rule on this question, unless it is convinced otherwise by “persuasive data.”
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     Covington, 381 F.3d at 218. Plaintiffs have presented no state court decisions indicating that
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     Pennsylvania applies the presumption beyond workplace asbestos cases. In support of their
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     contention, Plaintiffs have instead cited only non-binding federal district court orders. Opp. at 13-
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     14 n.11. Because the state court decisions post-Pavlik have clearly cabined the heeding presumption
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     to circumstances not present here, the Court should follow those intermediate decisions—as it
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     must—and not apply the presumption to Plaintiffs’ claims.
 9
     II.      EVEN IF A HEEDING PRESUMPTION APPLIED, PLAINTIFFS’ CLAIMS
10            WOULD STILL FAIL
11            If the Court applies the heeding presumption to Plaintiff’s claims, it would first need to
12   determine whether Monsanto has rebutted the presumption with evidence that, had an adequate
13   warning been provided, Ms. Spector would not have read and heeded the adequate warning. Coward
14   v. Owens-Corning Fiberglas Corp., 729 A.2d 614, 620 (Pa. Super. Ct. 1999). Monsanto has done
15   so with Ms. Spector’s testimony that she never read the label on any of the Roundup-branded
16   products she used from the 1980s to 2020. See MSJ at 4. Courts applying the heeding presumption
17   routinely find that such evidence sufficiently rebuts the presumption. See Flanagan v. martFIVE,
18   LLC, 259 F. Supp. 3d 316, 321 (W.D. Pa. 2017); Wright v. Ryobi Techs., Inc, 175 F. Supp. 3d 439,
19   454 (E.D. Pa. 2016); Chandler v. L’Oreal USA, Inc., 340 F. Supp. 3d 551, 562 (W.D. Pa. 2018)
20   (similar), aff’d 774 F. App’x 752 (3d Cir. 2019).
21            The burden is then on Plaintiffs to affirmatively “produce evidence that [s]he would have
22   acted to avoid the underlying hazard had the defendant provided an adequate warning.” Coward,
23   729 A.2d at 621. This evidence must be sufficient to establish that a different warning “may have
24   made a difference” in preventing Ms. Spector’s injuries. Conti v. Ford Motor Co., 743 F.2d 195,
25   199 (3d Cir. 1984). Plaintiffs have not presented evidence that meets this requirement.3
26
     3
       Plaintiffs argue at length that their allegations satisfy the standard set by Tincher for finding that a
27   product is “unreasonably dangerous.” See Opp. at 3-9. This argument does not address the actual
     basis for Monsanto’s MSJ—that even if Plaintiffs can show Roundup was unreasonably dangerous,
28   they cannot show that the defect identified actually caused Ms. Spector’s injuries. These are
                                                          3
           MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                           SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1           Plaintiffs argue that Ms. Spector’s testimony that she would have never used Roundup had
 2   she been warned that it could cause cancer (see Opp. at 10-13), shows that a different warning would
 3   have led to a different outcome. This argument misses the point. Ms. Spector’s testimony that she
 4   did not look at the labels on the Roundup-branded products means she would not have been apprised
 5   of the information included on a hypothetical adequate warning.         Thus, Plaintiffs’ evidence
 6   purporting to show what Ms. Spector would have done if she had been apprised of Roundup’s
 7   alleged risks is irrelevant to the question at-hand—whether Ms. Spector would have seen the
 8   hypothetical adequate warning. Plaintiffs present no evidence that she would have, meaning that
 9   even if Monsanto had provided a different warning, there is no evidence creating a reasonable
10   inference that that warning would have actually prevented Ms. Spector’s injuries. Conti, 743 F.2d
11   at 198-99.
12           For this same reason, Plaintiffs are missing the point when they repeatedly emphasize that
13   the label on the Roundup-branded products Ms. Spector used did not contain any cancer warning.4
14   See Opp. at 6, 8, 14. Again, the material question is not what Ms. Spector would have done had she
15   seen the label. Rather, the question is whether she would have ever seen the hypothetical “adequate”
16   warning, when she admittedly never looked at the product’s label. In similar situations where a
17   plaintiff confesses to never having looked at a product’s warnings, courts have granted summary
18   judgment on causation grounds even where there was no warning provided relating to the purported
19   defect. See, e.g., Flanagan, 259 F. Supp. 3d at 320-21; Mitchell v. Mod. Handling Equip. Co., No.
20   2637, 1999 WL 1825272, at *6 (Pa. Com. Pl. June 11, 1999), aff’d sub nom. Mitchell v. Mod.
21   Handling, 748 A.2d 1260 (Pa. Super. Ct. 1999) (“[W]hen a plaintiff failed even to read the allegedly
22   inadequate instructions accompanying the product, the plaintiff cannot prevail on the theory that if
23   he had known of the alleged danger, he would not be in a position to misuse it.”). In Flanagan, the
24

25   separate analyses, with the latter requiring Plaintiffs to produce evidence that a different warning
     provided by Monsanto would have led to a different result. See Conti, 743 F.2d at 198-99.
26
     4
       It is of course true that no cancer warnings were included on the Roundup labels, because
27   Monsanto—along with the U.S. Environmental Protection Agency—steadfastly refute the assertion
     that glyphosate causes NHL.
28
                                                      4
          MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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 1   plaintiff fell when a foldable, self-standing cane he purchased allegedly collapsed when he placed
 2   his weight onto it. Id. at 317-18. The plaintiff testified that he used the cane shortly after his wife
 3   purchased it and brought it home, and that he did not look to see whether there were any warranties
 4   or instructions provided with the cane before using it and falling. Id. at 321. The product’s
 5   packaging stated that the cane could “withstand up to 350 pounds,” and the plaintiff did not allege
 6   that there was any warning on the product or its packaging related to its propensity to collapse or
 7   not withstand his weight. Id. at 318. Faced with this evidence, the Court concluded that the claim
 8   failed because “[t]he jury would . . . have to speculate that [the plaintiff] would have heeded a
 9   warning placed on materials accompanying the [product] even though he testified under oath that
10   he did not read these materials.” Id. at 321 (citing Conti, 743 F.2d at 198-99). The same is true
11   here, as Plaintiffs cite no evidence suggesting that Ms. Spector would have looked at the product’s
12   label if a different warning had been given.5
13           Plaintiffs belatedly attempt to avoid the consequences of Ms. Spector’s deposition testimony
14   through an affidavit, which they produced to Monsanto for the first time with their opposition brief.
15   See Opp. at 12-13. In the affidavit, Ms. Spector declares that she “believes” she saw television and
16   print advertisements for Roundup, which “[t]o the very best of [her] recollection” did not include a
17   cancer warning. ECF No. 13892-3 ¶¶ 3-6. Plaintiffs cannot use this affidavit to avoid summary
18   judgment.
19            “The general rule in the Ninth Circuit”—known as the “sham affidavit” rule—“is that a
20   party cannot create an issue of fact by an affidavit contradicting his prior deposition testimony.”
21   5
       Plaintiffs misconstrue the cases Monsanto cited in its MSJ as turning on an analysis that the
22   warning labels provided to the plaintiff were adequate. Opp. at 14. Those cases instead depended
     upon evidence suggesting that the plaintiff never read the relevant warning label at all, such that the
23   adequacy of the warning was irrelevant to whether or not the plaintiff was injured. Flanagan, 259
     F. Supp. 3d at 321 (granting summary judgment because “[t]he jury would then have to speculate
24   that [p]laintiff would have heeded a warning placed on materials accompanying the HurryCane even
25   though he testified under oath that he did not read these materials”); Wright, 175 F. Supp. 3d at 454
     (“As Wright admits he never read the Operator’s Manual, the purported inadequacy of the unread
26   warnings therein could not have caused his injury.”); Chandler, 340 F. Supp. 3d at 562 (finding that
     “no evidence has been presented to demonstrate that an adequate warning may have prevented her
27   injury” because “the record is undisputed that [p]laintiff did not read the warnings on the exterior
     of the Defy Breakage relaxer box”).
28
                                                       5
          MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                          SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1   Van Asdale v. Int’l Game Tech., 577 F.3d 989, 998 (9th Cir. 2009); see also Kennedy v. Allied Mut.
 2   Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991) (“[I]f a party who has been examined at length on
 3   deposition could raise an issue of fact simply by submitting an affidavit contradicting his own prior
 4   testimony, this would greatly diminish the utility of summary judgment as a procedure for screening
 5   out sham issues of fact.”). Ms. Spector’s affidavit “clear[ly] and unambiguous[ly]” contradicts her
 6   statements in her deposition regarding her knowledge and recollection of Roundup advertisements.
 7   Van Asdale, 577 F.3d at 998. Contrary to her affidavit, Ms. Spector testified at deposition that (1)
 8   she did not remember when she would have seen any advertisements for Roundup; (2) “d[id not]
 9   know[] for sure” whether she saw any advertisements on television or in print; (3) did not remember
10   when she saw Roundup advertisements, if any; and (4) did not remember the contents of any
11   advertisements she may have seen. Reply Declaration of Jed White (“White Reply Decl.”) ¶ 2, Ex.
12   1 (Spector Dep. at 107:8-108:6). Because Ms. Spector’s affidavit is supplementary testimony that
13   contradicts her deposition testimony, it is the exact type of “sham affidavit” presented as a “tactical
14   attempt to evade an unfavorable summary judgment” that the Ninth Circuit rejects. Clavon v.
15   Roscoe BK Restaurant, Inc., 572 F. App’x 487, 489 (9th Cir. 2014) (affidavit prepared after
16   defendant moved for summary judgment that provided specific answers to questions the plaintiff
17   evaded during her deposition was not sufficient to create triable issue of fact). The affidavit
18   therefore is not sufficient to create a genuine factual dispute sufficient to avoid summary judgment.
19          Moreover, even absent Ms. Spector’s deposition testimony contradicting her affidavit, the
20   statements in the affidavit, standing alone, cannot defeat summary judgment because they do not
21   “set out specific facts showing a genuine issue for trial.” Fed. R. Civ. P. 56(e)(2) (emphasis added).
22   Vague or non-specific statements in an affidavit presented in response to a motion for summary
23   judgment do not produce a genuine factual dispute under Rule 56. See Lujan v. Nat’l Wildlife Fed.,
24   497 U.S. 871, 888-89 (1990) (general assertions in an affidavit are insufficient to defeat summary
25   judgment); Sullivan v. Dollar Tree Stores, Inc., 623 F.3d 770, 779-80 (9th Cir. 2010) (“vague
26   assertion” that defendant constituted “successor in interest” under the Family and Medical Leave
27   Act did not defeat summary judgment, because it “le[ft] entirely unclear the nature of [the parties’]
28   conflict, if any”). As in Sullivan, Ms. Spector’s affidavit here is too vague and non-specific to create
                                                        6
        MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                        SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1   an actual factual dispute. Ms. Spector does not specifically state that she actually saw any Roundup
 2   advertisements. See ECF No. 13892-3 ¶¶ 3-4 (stating that to “the very best of [her] recollection”
 3   Ms. Spector “became familiar with Roundup through advertisements” and that she “believe[s]” she
 4   saw ads on television and in print). And she admits that she cannot identify the specific content of
 5   the advertisements she “believe[s]” she saw. See id. ¶ 5 (“While I cannot recall exact specifics of
 6   the Roundup advertisements I saw…”). These statements fall far short of Rule 56’s specificity
 7   requirement. See Sullivan, 623 F.3d at 780.
 8           Finally, even if the affidavit were sufficiently specific, and even if it were not a sham
 9   affidavit, Plaintiffs’ claims would still fail as a matter of law. Plaintiffs merely assume, with no
10   legal support, that where a plaintiff does not read the product’s label, he or she can still prove
11   causation by virtue of seeing product advertisements that did not contain a warning. In fact, courts
12   applying Pennsylvania law have dismissed claims under such circumstances. See, e.g., Flanagan,
13   259 F. Supp. 3d at 318 (granting defendants’ summary judgment motion where the plaintiff
14   purchased the product because television advertisements “piqued [his] interest,” but did not look at
15   the product’s warnings or instructions).
16           In all, Plaintiffs’ claims fail because (1) they present no evidence tending to show that a
17   different warning label on the Roundup-branded products Ms. Spector used would have led to a
18   different outcome, and (2) they present no factual or legal support for their argument that their claims
19   can rest on Ms. Spector’s knowledge of Monsanto’s advertisements for Roundup.
20 III.      PLAINTIFFS’ NEGLIGENCE CLAIM FAILS FOR LACK OF CAUSATION AS
             WELL
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             Lastly, Plaintiffs argue that even if their strict liability and breach of warranty claims fail,
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     their negligence claim can survive.6 Opp. at 15 n.12. While strict liability and negligence claims
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     are “independent grounds for a personal injury claim,” see Griggs v. BIC Corp., 981 F.2d 1429 (3d
24
     Cir. 1992), they both require evidence that Monsanto’s actions caused Ms. Spector’s injuries, see,
25
     e.g., Shoey ex rel. Litz v. Duck Head Apparel Co., Inc., 49 F. Supp. 2d 413, 420-21 (M.D. Pa. 1999).
26

27   6
       Plaintiffs do not dispute that Monsanto’s warnings causation argument applies equally to Plaintiffs’
     strict liability design defect and breach of warranty claims. See MSJ at 1-2, 5-6.
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                                                        7
          MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                          SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1   As noted in Monsanto’s opening brief, each of Plaintiffs’ claims depends upon the theory that
 2   Monsanto’s failure to warn of Roundup’s allegedly dangerous propensities caused Ms. Spector’s
 3   injuries. Her testimony that she never looked at the Roundup label, and Plaintiffs’ failure to proffer
 4   any evidence that Ms. Spector would have looked at a different label that included their preferred
 5   warnings, therefore dooms Plaintiffs’ negligence claim as well.
 6                                             CONCLUSION
 7          For the foregoing reasons, the Court should grant Monsanto’s motion for summary
 8   judgment.
 9
     Dated: October 20, 2021                       Respectfully submitted,
10

11                                                 /s/ Jed P. White
                                                   Jed P. White
12                                                 Attorney for Defendant Monsanto Company
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        MONSANTO’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                        SPECTOR, ET AL. V. MONSANTO, CO., NO. 3:20-CV-05532
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 1                                   CERTIFICATE OF SERVICE
 2          I am employed in the County of Los Angeles, State of California; I am over the age of 18
     years and not a party to the within action; my business address is 120 Broadway, Suite 300, Santa
 3   Monica, CA 90401-2386. My email address is raul.morales@bclplaw.com.
 4           On October 20, 2021, I served the foregoing document(s), described as: MONSANTO
     COMPANY’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT on
 5   each interested party in this action, as follows:
 6                  BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said document(s) to
     be served by means of this Court’s electronic transmission of the Notice of Electronic filing
 7   through the Court’s transmission facilities, to the parties and/or counsel who are registered
     CM/ECF Users set forth in the service list obtained from this Court, or by another manner as
 8   authorized by FED. R. CIV. P. 5.
 9                      Executed on October 20, 2021, at Santa Monica, California.
10                   FEDERAL: I declare that I am employed in the office of a member of the bar of
     this court at whose direction the service was made.
11

12                                                                 /s/ Raul Morales
                                                                     Raul Morales
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                                         CERTIFICATE OF SERVICE
